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                    UNITED STATES DISTRICT COURT

                    SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION

RAMON ANTONIO KELLY,               )
                                   )
      Movant,                      )
                                   )
v.                                  )    CV616-128
                                   )     CR606-026
UNITED STATES OF AMERICA,          )
                                   )
      Respondent.                  )


      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation

(R&R), to which objections have been filed. Accordingly, the R&R is

ADOPTED, and this case is DISMISSED with prejudice.

      ORDER ENTERED at Augusta, Georgia, this JS^ day of
October, 2016.



                                   HONORABLE J. RANDAL HALL
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
